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 8

 9                                  IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-217 MCE

13                                     Plaintiff,       STIPULATION AND [PROPOSED] PROTECTIVE
                                                        ORDER
14                             v.

15   SATISH KARTAN, and
     SHARMISTHA BARAI,
16
                                       Defendants.
17

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19          WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of certain
20 sensitive but unclassified discovery materials to anyone not a party to the court proceedings in this

21 matter, or to defendants SATISH KARTAN and SHARMISTHA BARAI in this case as provided

22 below;

23          WHEREAS, the sensitive but unclassified discovery materials at issue include information
24 pertaining to victims or potential victims in this case, including personal identifying information such as

25 dates of birth, passport numbers, telephone numbers and email accounts;

26          WHEREAS, such sensitive but unclassified discovery materials shall be identified as sensitive
27 and subject to a protective order at the time of disclosure, whether on the documents or other materials

28 (e.g., CDs/DVDs) themselves or in an accompanying cover letter;

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 1          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate, and that a

 2 private agreement is not appropriate in light of the nature of the information at issue and the charges in

 3 this case; and

 4          WHEREAS, the defendants, SATISH KARTAN and SHARMISTHA BARAI, have counsel

 5 (“Defense Counsel”) who wish the opportunity to review the discovery;

 6          Defendants SATISH KARTAN and SHARMISTHA BARAI and plaintiff United States of

 7 America, by and through their counsel of record, hereby agree and stipulate as follows:

 8          1.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 9 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.
10          2.       This Order pertains to all discovery provided to or made available to Defense Counsel

11 that is identified as sensitive and subject to a protective order in this case (hereafter, collectively known

12 as “the protected discovery”).

13          3.       Defense Counsel shall not disclose any of the protected discovery to any person other

14 than their respective clients, or attorneys, law clerks, paralegals, secretaries, experts, and investigators,

15 involved in the representation of their respective clients. However, at no time shall either defendant be

16 permitted to review the protected discovery outside of the presence of his or her attorney, and Defense

17 Counsel shall not leave any of the protected discovery with either defendant.

18          4.       The protected discovery and information therein may only be used in connection with the

19 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

20 the property of the United States Government. Defense Counsel will return the discovery to the

21 Government or certify that it has been shredded at the conclusion of the case.

22          5.       Defense Counsel will store the discovery in a secure place and will use reasonable care to

23 ensure that it is not disclosed to third persons or their respective clients in violation of this agreement.

24          6.       If Defense Counsel releases custody of any of the discovery, or authorized copies thereof,

25 to any person described in paragraph (3), Defense Counsel shall provide such recipients with copies of

26 this Order and advise that person that the protected discovery is the property of the United States

27 Government, that the protected discovery and information therein may only be used in connection with

28 the litigation of this case and for no other purpose, and that an unauthorized use of the protected

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 1 discovery may constitute a violation of law and/or contempt of court.

 2          7.       In the event that either defendant obtains substitute counsel, undersigned Defense

 3 Counsel agree to withhold the protected discovery from new counsel unless and until substituted counsel

 4 agrees to be bound by this Order.

 5          8.       Defense Counsel shall be responsible for advising their respective clients, employees, and

 6 other members of the defense team of the contents of this Stipulation/Order.

 7          IT IS SO STIPULATED.

 8 Dated: November 28, 2016                               Respectfully submitted,

 9
                                                          PHILLIP A. TALBERT
10                                                        United States Attorney

11                                                 By:    /s/ Josh F. Sigal
                                                          JOSH F. SIGAL
12                                                        Special Assistant U.S. Attorney

13 Dated: November 28, 2016                        By:    /s/ Mark Reichel
                                                          (authorized on November 28, 2016)
14                                                        MARK REICHEL, ESQ.
                                                          Counsel for SATISH KARTAN
15
     Dated: November 28, 2016                      By:    /s/ Tom Johnson
16                                                        (as authorized on November 22, 2016)
                                                          TOM JOHNSON, ESQ.
17                                                        Counsel for SHARMISTHA BARAI

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19                                                    ORDER

20          IT IS SO FOUND AND ORDERED.

21 DATED: November ___, 2016______________

22                                                        HON. MORRISON C. ENGLAND
                                                          United States District Judge
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